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                           BEFORE THE UNITED STATES

             JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE: NELNET SERVICING, LLC,                                MDL DOCKET NO. 3053
CUSTOMER DATA SECURITY
BREACH LITIGATION



                                 PROOF OF SERVICE

       I hereby certify that on September 29, 2022, Plaintiffs Kennedy Freeman and
Aaron Morris’ Notice of Appearance (ECF No. 15) was filed electronically and served
on all counsel of record through the electronic filing system.

                                              /s/ Rachele R. Byrd
                                              Rachele R. Byrd




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